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                                                                                   2021 Apr-26 PM 04:16
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                            MIDDLE DIVISION

ANITA BERRY, individually,               )
and on behalf of other similarly         )
situated consumers,                      )
                                         )
      PLAINTIFF,                         )
                                         )
V.                                       )      CIVIL ACTION NUMBER:
                                         )
THE LAW OFFICES OF                       )
MITCHELL D. BLUHM &                      )
ASSOCIATES, LLC,                         )
                                         )
      DEFENDANT.                         )


                                    COMPLAINT


      This is an action brought by the Plaintiff, Anita Berry, individually and on

behalf of other similarly situated consumers, for statutory damages, attorney’s

fees, and costs for Defendant’s violations of the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”).

                           JURISDICTION AND VENUE

      This Court has jurisdiction under 15 U.S.C. §1692k (d), and 28 U.S.C.

§1331. Venue is proper in that at all relevant times the Defendant transacted

business in this District, and the Plaintiff resides in this District.

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               STATEMENT OF THE PARTIES

1.   Plaintiff, Anita Berry, is over the age of nineteen (19) years and is a

     resident of the city of Gadsden in Etowah County, Alabama.

2.   Defendant The Law Offices of Mitchell D. Bluhm & Associates, LLC

     (hereinafter referred to as “MDB”) is, and at all times pertinent herein

     was, a foreign limited liability company or other legal entity

     organized under the laws of the State of Georgia. Plaintiff asserts that,

     upon information and belief, Defendant MDB is a debt collector as

     that term is defined by the Fair Debt Collection and Practices Act at

     15 U.S.C. §1692(a)(6).

                    STATEMENT OF FACTS

                            Background

3.   On or about July 27, 2018, Plaintiff’s grandson received medical

     treatment at the emergency department at Riverview Regional

     Medical Center in Gadsden, Alabama.

4.   While at Riverview Regional Medical Center in Gadsden, Alabama

     Plaintiff’s grandson received treatment provided by Alabama

     Emergency Physicians Partners, LLC.

5.   Alabama Emergency Physicians Partners, LLC later claimed that

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      Plaintiff owed it $50.00 (hereinafter referred to as “the debt). This

      debt, namely the cost of Plaintiff’s grandson’s medical care, was

      incurred for personal, family, or household services, and, as such, was

      a “debt” as defined by the FDCPA at 15 U.S.C. §1692a(5).

6.    Sometime thereafter, the debt was sold or otherwise assigned to CF

      Medical, LLC, a debt buyer.

7.    After acquiring the debt, CF Medical, LLC hired or retained MDB to

      collect the debt.

8.    MDB decided to contact Plaintiff about the debt via written

      correspondence.

9.    However, rather than preparing and mailing a collection letter on its

      own, MDB sent information regarding the Plaintiff and the debt to a

      third-party commercial mail house located in or around Concord,

      California (hereinafter referred to as “the mail house”).

10.   MDB disclosed to the mail house:

      a.    Plaintiff’s status as a debtor;

      b.    the fact that Plaintiff allegedly owed $50.00 to CF Medical,

            LLC;

      c.    the fact that the debt concerned Plaintiff’s grandson’s medical

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            treatment;

      d.    Plaintiff’s grandson’s name;

      e.    other personal information about or regarding the Plaintiff.

11.   The mail house then populated some or all of this information into a

      pre-written template, printed and mailed the letter from California to

      the Plaintiff’s residence in Alabama. (See Exhibit A to Plaintiff’s

      Complaint).

12.   The FDCPA defines “communication” at 15 U.S.C. § 1692a(3) as

      “the conveying of information regarding a debt directly or indirectly

      to any person through any medium.”

13.   The sending of an electronic file containing information about

      Plaintiff’s purported debt to a mail house is therefore a

      communication as that term is defined by the FDCPA.

14.   MDB’s communication to the mail house was in connection with the

      collection of a debt since it involved disclosure of the debt to a third-

      party with the objective being communicating with the Plaintiff in an

      effort to motivate or compel the Plaintiff to pay the alleged debt.

15.   Plaintiff never consented to having her personal and confidential

      information, concerning the debt, her grandson or otherwise, shared

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      with anyone else.

16.   In limiting disclosures to third parties, the FDCPA states at 15 U.S.C.

      § 1692c(b):

            Except as provided in section 1692b of this
            title, without the prior consent of the
            consumer given directly to the debt
            collector, or the express permission of a
            court of competent jurisdiction, or as
            reasonably necessary to effectuate a
            postjudgment judicial remedy, a debt
            collector may not communicate, in
            connection with the collection of any debt,
            with any person other than the consumer,
            his attorney, a consumer reporting agency
            if otherwise permitted by law, the creditor,
            the attorney of the creditor, or the attorney
            of the debt collector. (Emphasis added).

17.   The mail house used by MDB as part of its debt collection efforts

      against the Plaintiff does not fall within any permitted exception

      provided for in 15 U.S.C. § 1692c(b).

18.   The 11th Circuit, in Hunstein v. Preferred Collection & Mgmt. Servs.,

      No. 19-14434, 2021 U.S. App. LEXIS 11648, (11th Cir. Apr. 21,

      2021), recently held that the plaintiff in Hunstein, who alleged

      conduct similar to MDB’s conduct in this matter, namely transmitting

      information regarding a debt to a third-party mail house,


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      appropriately had standing and stated a claim under the FDCPA,

      specifically 15 U.S.C. 1692c(b).

19.   Due to MDB’s communication to the mail house, information about

      the Plaintiff and her grandson, including their names, the fact that

      Plaintiff’s grandson sought and received medical treatment, treatment

      dates, the amount allegedly owed, the fact that MDB claimed Plaintiff

      owed a debt, as well as Plaintiff and her grandson’s home address are

      all within the possession of an unauthorized third-party.

20.   MDB unlawfully communicated with the unauthorized third-party

      mail house solely for the purpose of streamlining its generation of

      profits and without regard to the regulations imposed by the FDCPA

      or the propriety and privacy of the information which it discloses to

      such third-party.

                CLASS ACTION ALLEGATIONS

                              The Class

21.   Plaintiff brings this as a class action pursuant to F.R.C.P. 23 on behalf

      of herself and all others similarly situated who have received debt

      collection letters from the Defendant wherein the Defendant

      wrongfully transmitted information regarding consumers and debts

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      that they allegedly owe to a third-party mail house which then

      prepared and mailed said collection letters to consumers.

22.   The class is defined as:

      All consumers within the State of Alabama whose
      information was transmitted by the Defendant to any
      third party mail house for the purpose of preparing and
      sending debt collection letters within one year prior to
      the filing of this complaint.

23.   Excluded from the Class is the Defendant herein and any person

      related to or affiliated with the Defendant including, without

      limitation, persons who are officers, directors, employees, associates

      or partners of Defendant.

                             Numerosity

24.   Upon information and belief, Defendant has sent hundreds of similar

      letters, generated by a third-party mail house, to consumer debtors

      throughout the State of Alabama, each of which violates the FDCPA.

      The members of this Class are believed to be so numerous that

      joinder of all members is impracticable.

25.   The exact number and identities of the Class members are unknown at

      this time and can only be ascertained through discovery.

      Identification of Class members is a matter capable of determination

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      from Defendant’s records.

                Common Questions of Law and Fact

26.   There are questions of law and of fact common to the Class that

      predominate over any questions involving only individual class

      members. These common questions of law and fact include, without

      limitation: (i) whether Defendant, by transmitting information

      regarding debts allegedly owed by Alabama consumers to a third

      party mail house, violated 15 U.S.C. 1692c(b); (ii) if Defendant

      violated the FDCPA by its conduct, what amount of statutory

      damages are appropriate per class member and, (iii) whether the

      Plaintiff and the Class are entitled to declaratory relief, namely a

      declaration that Defendant’s conduct violated the FDCPA.

                              Typicality

27.   The Plaintiff’s claims are typical of the claims of the Class members.

      Plaintiff and all of the members of the Plaintiff’s Class as defined in

      this Complaint have claims arising out of the Defendant’s common

      uniform course of conduct complained of herein. Plaintiff’s claims

      are typical of the claims of the Class and Plaintiff has no interests

      which are adverse to the interests of other members of the Class.

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          Protecting the Interests of the Class Members

28.   Plaintiff will fairly and adequately represent the Class members’

      interests, in that the Plaintiff’s counsel is experienced in FDCPA

      litigation and, additionally, anticipates no impediments in the pursuit

      and maintenance of the class action as sought herein.

29.   Neither Plaintiff nor her counsel have any interests which might deter

      them from vigorously pursuing the instant class action lawsuit.

      Proceeding via Class Action is Superior and Advisable

30.   A class action is superior to other methods for the fair and efficient

      adjudication of the claims herein asserted, this being specifically

      envisioned by Congress as a principal means of enforcing the FDCPA

      as codified at 15 U.S.C. § 1692k.

31.   The members of the Class very likely will not have their rights

      vindicated absent a class action.

32.   Prosecution of separate actions by individual members of the Class

      would create the risk of inconsistent or varying adjudications

      resulting in the establishment of inconsistent or varied standards for

      the parties.

33.   Certification of a Class is also appropriate in that questions of law

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      and fact common to members of the Plaintiff’s Class predominate

      over any questions affecting an individual member. As such, a class

      action is superior to other available methods for the fair and efficient

      adjuication of the controversy.

34.   A class action will permit a large number of similarly situated persons

      to prosecute their common claims in a single forum simultaneously,

      efficiently, and without the duplication of effort and expense that

      numerous individual actions would engender. Class treatment will

      also permit the adjudication of relatively small claims by many Class

      members who otherwise could not afford to seek legal redress for the

      wrongs complained of herein or would otherwise not be able to

      secure counsel to assist them in seeking legal redress for the conduct

      complained of in this Complaint.

35.   Absent a class action, the Class members will continue to be harmed

      by Defendant’s breaches of the Class members’ statutorily protected

      rights and will be deprived of statutory damages thus allowing and

      permitting Defendant’s wrongful conduct to proceed and Defendant

      to further enjoy the benefit of its wrongful conduct.




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                        COUNT ONE
  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. § 1692c(b)

      36.   Defendant’s conduct, as outlined herein, violates 15 U.S.C. §

            1692c(b).

      37.   As a result of such violation, Plaintiff, and by extension the Class, is

            entitled to statutory damages in an amount to be determined by a jury

            as well as costs and attorneys’ fees.

                            PRAYER FOR RELIEF

      WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully

requests the Court do the following:

      A.    Certify the Class described herein and appoint Plaintiff as Lead

            Plaintiff and Plaintiff’s Counsel as Lead Counsel;

      B.    Enter judgment against Defendant for statutory damages on a class

            wide basis for the violations of the FDCPA pursuant to 15 U.S.C. §

            1692k;

      C.    Award costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §

            1692k.




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          PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY.



                                       /s/ W. Whitney Seals
                                       W. WHITNEY SEALS,
                                       Attorney for Plaintiff




OF COUNSEL:

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c/o Plaintiff’s Counsel
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PLEASE SERVE THE DEFENDANT BY CERTIFIED MAIL, RETURN
RECEIPT REQUESTED TO THE FOLLOWING ADDRESSES:

The Law Offices of Mitchell D. Bluhm & Associates, LLC
c/o Registered Agent
C T Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104




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